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 5   Attorneys for Defendant JORGE SANDOVAL

 6

 7                           UNITED STATES DISTRICT COURT

 8                          EASTERN DISTRICT OF CALIFORNIA

 9

10
     UNITED STATES OF AMERICA,                        Case No. 2:11-cr-00119-04 WBS
11
                          Plaintiff,
12                                                    STIPULATION AND [PROPOSED]
     vs.                                              ORDER TO EXCLUDE TIME
13
     JORGE SANDOVAL,
14
                          Defendant.
15
     ________________________________/
16

17
            The parties hereby stipulate that the status conference in this case be continued
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     from Monday, June 3, 2013, at 9:30 a.m. to Monday, July 15, 2013, at 9:30 a.m. The
19
     parties stipulate that the time between June 3, 2013, and July 15, 2013, should be
20
     excluded from the calculation of time under the Speedy Trial Act. The parties stipulate
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     that the ends of justice are served by the Court excluding such time, so that counsel for
22
     the defendant may have reasonable time necessary for effective preparation, taking into
23
     account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-
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     4. Moreover, the parties continue to engage in discussions about a possible resolution
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     that could benefit the defendant by significantly reducing his possible sentencing
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     exposure in this case. For these reasons, the defendant agrees that a continuance .
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     Therefore the parties have stipulated to continue the status conference in this case. The
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             Case 2:11-cr-00119-WBS Document 149 Filed 05/31/13 Page 2 of 2


 1   parties stipulate and agree that the interests of justice served by granting this continuance

 2   outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §

 3   3161 (h)(7)(A).

 4          The parties further request that this matter be taken off the June 3, 2013 calendar

 5   before Judge William B. Shubb and be rescheduled for July 15, 2013, at 9:30 a.m. before

 6   Judge Shubb.

 7                                              Respectfully submitted

 8                                              LAW OFFICES OF TIM A. PORI

 9
     Date: May 30, 2013                         /s/ Tim A. Pori
10                                              TIM A. PORI
                                                Attorney for Defendant JORGE SANDOVAL
11

12   Date: May 30, 2013                         /s/ Jason Hitt (Authorized 5/30/2013)
                                                JASON HITT
13                                              Assistant United States Attorney

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16
                                               ORDER
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            IT IS HEREBY ORDERED that the Status Conference in the above-entitled
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     matter is continued to July 15, 2013, at 9:30 a.m. before the Honorable William B. Shubb
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     and that the time between June 3, 2013, and July 15, 2013, be excluded from the
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     calculation of time under the Speedy Trial Act.
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     DATED: May 31, 2013
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